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                                EXHIBIT H
                Detailed Expense Records for Marchand ICS Group
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                                              Marchand ICS Group
                 Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC)
                                   Summary of Marchand ICS Group Expenses
                                           From June 1 to June 30, 2021



Date              Supplier                                     Description                                 Amount ($)
5/10/2021 Plenitud Dorada Inc.    Ad Publication on Periódico Plenitud Dorada (March-April Edition)          1,300.00

                                  ORC Weekly Radio Program (5 pre-recorded programs at Noti Uno
 6/4/2021 Uno Radio Group                                                                                    2,000.00
                                  Radio)
 6/4/2021 Facebook Ads            Facebook Ads for the ORC Facebook Page Campaign                              800.00
 6/7/2021 Linked In               LinkedIn Ads for the ORC LinkedIn Page Campaign                               23.59
6/12/2021 Linked In               LinkedIn Ads for the ORC LinkedIn Page Campaign                              108.45
6/15/2021 Facebook Ads            Facebook Ads for the ORC Facebook Page Campaign                              801.83
6/16/2021 Linked In               LinkedIn Ads for the ORC LinkedIn Page Campaign                              125.05
6/18/2021 Mentionlytics LTD       Mention search tool for the ORC digital platforms                             99.00
6/19/2021 Linked In               LinkedIn Ads for the ORC LinkedIn Page Campaign                              127.42
6/20/2021 iStock                  iStock / Getty Images Monthly Subscription for the ORC                       100.00
6/21/2021 CD Imprint              Printing of 4,000 ORC's Informational Flyers/Inserts                         663.43
6/22/2021 Facebook Ads            Facebook Ads for the ORC Facebook Page Campaign                              423.31
6/22/2021 Linked In               LinkedIn Ads for the ORC LinkedIn Page Campaign                              120.81
6/22/2021 Plenitud Dorada Inc.    Ad Publication on Periódico Plenitud Dorada (June-July Edition)            1,300.00
6/25/2021 Linked In               LinkedIn Ads for the ORC LinkedIn Page Campaign                              118.15
6/29/2021 Linked In               LinkedIn Ads for the ORC LinkedIn Page Campaign                              124.53
                                                                                                  Total:     8,235.57
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                                               Marchand ICS Group
                 Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC)
                                   Summary of Marchand ICS Group Expenses
                                            From July 1 to July 31, 2021



 Date             Supplier                                      Description                              Amount ($)
 7/1/2021 Linked In               LinkedIn Ads for the ORC LinkedIn Page Campaign                             77.19
 7/5/2021 Linked In               LinkedIn Ads for the ORC LinkedIn Page Campaign                            107.76
 7/9/2021 Facebook Ads            Facebook Ads for the ORC Facebook Page Campaign                            801.71
7/11/2021 Linked In               LinkedIn Ads for the ORC LinkedIn Page Campaign                             58.42
                                  Media monitoring and recording services (audio and audiovisual media
7/12/2021 Publimedia                                                                                         145.60
                                  from radio and television programs)
          Zoom Video              Zoom's Standard Pro Annual Suscription, for the ORC's video
7/15/2021                                                                                                     79.00
          Communications          conference meetings
7/18/2021 Mentionlytics LTD       Mention search tool for the ORC digital platforms                           99.00
7/20/2021 iStock                  iStock / Getty Images Monthly Subscription for the ORC                     100.00
7/22/2021 Facebook Ads            Facebook Ads for the ORC Facebook Page Campaign                            581.21
                                                                                                  Total:   2,049.89
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                                             Marchand ICS Group
                Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC)
                                  Summary of Marchand ICS Group Expenses
                                        From August 1 to August 31, 2021



 Date             Supplier                                     Description                          Amount ($)
 8/4/2021 Linked In              LinkedIn Ads for the ORC LinkedIn Page Campaign                         24.41
 8/9/2021 Linked In              LinkedIn Ads for the ORC LinkedIn Page Campaign                        102.93
8/14/2021 Linked In              LinkedIn Ads for the ORC LinkedIn Page Campaign                        116.66
8/15/2021 Facebook Ads           Facebook Ads for the ORC Facebook Page Campaign                        800.00
8/18/2021 Mentionlytics LTD      Mention search tool for the ORC digital platforms                       99.00
8/20/2021 iStock                 iStock / Getty Images Monthly Subscription for the ORC                 100.00
8/20/2021 Linked In              LinkedIn Ads for the ORC LinkedIn Page Campaign                         56.00
8/22/2021 Facebook Ads           Facebook Ads for the ORC Facebook Page Campaign                        155.17
8/24/2021 GoDaddy                COR Domains renewal                                                    282.90
                                 ORC Weekly Radio Program (10 pre-recorded programs at Noti Uno
8/31/2021 Uno Radio Group                                                                             4,000.00
                                 Radio)
                                                                                             Total:   5,737.07
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                                             Marchand ICS Group
                 Client: Official Retiree Committee, in the Commonwealth of Puerto Rico (ORC)
                                   Summary of Marchand ICS Group Expenses
                                     From September 1 to September 30, 2021



Date             Supplier                                        Description                             Amount ($)
                                  Media monitoring and recording services (audio and audiovisual media
8/31/2021 Publimedia                                                                                          72.80
                                  from radio and television programs)
9/10/2021 Survey Monkey           Survey tool - for email drop surveys.                                      384.00
                                  Media monitoring and recording services (audio and audiovisual media
9/14/2021 Publimedia                                                                                          72.80
                                  from radio and television programs)
9/18/2021 Mentionlytics LTD       Mention search tool for the ORC digital platforms                           99.00
9/19/2021 GoDaddy                 COR Domains renewal                                                        116.64
9/20/2021 iStock                  iStock / Getty Images Monthly Subscription for the ORC                     100.00
9/22/2021 Facebook Ads            Facebook Ads for the ORC Facebook Page Campaign                            785.07
9/24/2021 Linked In               LinkedIn Ads for the ORC LinkedIn Page Campaign                             27.12
9/29/2021 Linked In               LinkedIn Ads for the ORC LinkedIn Page Campaign                            161.17
                                  Media monitoring and recording services (audio and audiovisual media
9/29/2021 Publimedia                                                                                         582.40
                                  from radio and television programs)
                                                                                                  Total:   2,401.00
